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 8                                UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    APPLE HILL GROWERS,                               No. 2:17–cv–02085–TLN–CKD

12                       Plaintiff/Counter-
                         Defendant,
13                                                      ORDER
             v.
14                                                      (ECF No. 32)
      EL DORADO ORCHARDS, INC., et al.,
15
                         Defendants/Counter-
16                       Claimants.
17

18          Plaintiff/Counter-Defendant Apple Hill Growers’ motion to compel discovery from

19   Defendant/Counter-Claimant Mason Visman (ECF No. 32) came on for remote hearing before the

20   undersigned on January 26, 2022. (ECF No. 38.) After discussion with the parties, it was

21   determined that the motion was premature as the parties are just starting to negotiate as to the

22   substance of Mr. Visman’s discovery responses. The parties shall therefore substantively meet

23   and confer in good faith regarding those issues. If these efforts are unsuccessful, the parties may

24   request an informal discovery conference for help resolving issues that do not require full

25   briefing—or must prepare a formal motion to compel that fully outlines the nature of the disputed

26   issues, including each party’s arguments and the discovery requests and responses at issue. See

27   Local Rule 251(c) (detailing contents of joint statement regarding discovery disagreements).

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 1             It was also determined that this case would benefit from court-assisted settlement, and

 2   after consulting with the assigned District Judge, the parties are now ordered to arrange a

 3   settlement conference with Magistrate Judge Dennis Cota as described below.

 4                                                     ORDER

 5             It is HEREBY ORDERED that:

 6             1. Plaintiff’s motion to compel (ECF No. 32) is DENIED without prejudice.

 7             2. The case is REFERRED to Magistrate Judge Dennis M. Cota for a settlement

 8                   conference. This referral does not affect the scheduling deadlines currently in place.

 9             3. In order to schedule the settlement conference, the parties are directed to contact

10                   Magistrate Judge Cota’s courtroom deputy, Christy Pine (cpine@caed.uscourts.gov),

11                   no later than February 2, 2022 regarding their availability to participate in a settlement

12                   conference at 9:30 AM on Mar. 1, Mar. 2, or Mar 22, 2022. The settlement

13                   conference will be conducted remotely by Zoom video conference. Parties are

14                   instructed to have a principal with full settlement authority present at the settlement

15                   conference or to be fully authorized to settle the matter on any terms.

16   Dated: January 27, 2022
                                                           _____________________________________
17
                                                           CAROLYN K. DELANEY
18                                                         UNITED STATES MAGISTRATE JUDGE

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